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 l Specification                    Liquidity Ind cator   Trading Fee Rate (bps)    USD Amount USD Fee (USD) USD USD Balance USD BTC Amount BTC Fee (BTC) BTC       BTC Balance BTC ETH Amount ETH Fee ETH) ETH   ETH Balance ETH ZEC Amount ZEC Fee (ZEC) ZEC   ZEC Balance ZEC Trade ID  Order ID   Order Date Order Time Cl ent Order ID   API Session   Tx Hash                     Deposit Destination           Deposit Tx Output       Withdrawal Destination
   Depos t (Instant ACH T ansfe )                                                             $24.00        $0.00          $24 00                                            0.0 BTC                                       0 0 ETH                                        0.0 ZEC
   Depos t (Instant ACH T ansfe )                                                             $50.00        $0.00          $74 00                                            0.0 BTC                                       0 0 ETH                                        0.0 ZEC
D Ma ket                            Take                                   100.00            ($49.50)      ($0.50)         $24 00                                            0.0 BTC                                       0 0 ETH 0.15780482 ZEC                 0.15780482 ZEC  3.731E 09 3.731E 09 2018-05-22 ###########
   Depos t (P e-C ed ted BTC)                                                                                              $24 00  0.27456422 BTC          0.0 BTC 0.27456422 BTC                                          0 0 ETH                                0.15780482 ZEC                                                                                              37a6e                           aJT9                        1
C Lmt                               Make                                   100.00                                          $24 00     (0.07832 BTC) (0.0007832 BTC) 0.19546102 BTC            1.0 ETH                      1 0 ETH                                0.15780482 ZEC  3.947E 09 3.947E 09 2018-06-21 ###########
C Lmt                               Take                                   100.00                                          $24 00     (0.02833 BTC) (0.0002833 BTC) 0.16684772 BTC                                         1 0 ETH           1.0 ZEC              1.15780482 ZEC  3.947E 09 3.947E 09 2018-06-21 ###########
   W thd awal (BTC)                                                                                                        $24 00          (0.02 BTC)      0.0 BTC 0.14684772 BTC                                          1 0 ETH                                1.15780482 ZEC                                                                                               9cd5                                                                                    59
   Depos t (BTC)                                                                                                           $24 00           0.03 BTC       0.0 BTC 0.17684772 BTC                                          1 0 ETH                                1.15780482 ZEC                                                                                                df75e                         aJT9                        0
   W thd awal (BTC)                                                                                                        $24 00 (0.17684772 BTC)         0.0 BTC           0.0 BTC                                       1 0 ETH                                1.15780482 ZEC                                                                                                 21a9                                                                                  JT
   Depos t (Instant ACH T ansfe )                                                            $300.00        $0.00         $324 00                                            0.0 BTC                                       1 0 ETH                                1.15780482 ZEC
D Lmt                               Make                                   100.00           ($300.00)      ($3.00)         $21 00  0.04592478 BTC                    0.04592478 BTC                                        1 0 ETH                                1.15780482 ZEC  4.045E 09 4.045E 09 2018-07-05 ###########
C Lmt                               Take                                   100.00                                          $21 00     0.029337 BTC (0.00029337 BTC) 0.07496841 BTC                                         1 0 ETH          (1.1 ZEC)             0.05780482 ZEC  4.045E 09 4.045E 09 2018-07-05 ###########
C Lmt                               Take                                   100.00                                          $21 00  0.03036782 BTC (0.00030368 BTC) 0.10503255 BTC      (0 425141 ETH)                0.574859 ETH                                 0.05780482 ZEC  4.045E 09 4.045E 09 2018-07-05 ###########
C Lmt                               Make                                   100.00                                          $21 00  0.04106154 BTC (0.00041062 BTC) 0.14568347 BTC       (0.57485 ETH)                0.000009 ETH                                 0.05780482 ZEC  4.045E 09 4.045E 09 2018-07-05 ###########
C Lmt                               Make                                   100.00                                          $21 00  0.00000064 BTC (0.00000001 BTC) 0.14568411 BTC      (0 000009 ETH)                      0 0 ETH                                0.05780482 ZEC  4.045E 09 4.045E 09 2018-07-05 ###########
   W thd awal (BTC)                                                                                                        $21 00          (0.09 BTC)      0.0 BTC 0.05568411 BTC                                          0 0 ETH                                0.05780482 ZEC                                                                                               7261a                                                                                    S
   Depos t (BTC)                                                                                                           $21 00 31.28328737 BTC          0.0 BTC 31.33897148 BTC                                         0 0 ETH                                0.05780482 ZEC                                                                                               5d83                           Ds S                        0
D Lmt                               Make                                   100.00          $6,180.94      ($61.81)      $6,140 13          (0.98 BTC)               30.35897148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00         $27,286.95     ($272.87)     $33,154 21       (4.3264 BTC)                26.03257148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00          $5,676.37      ($56.76)     $38,773 82           (0.9 BTC)               25.13257148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00          $1,519.63      ($15.20)     $40,278 25     (0.24094 BTC)                 24.89163148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00          $1,892.12      ($18.92)     $42,151 45           (0.3 BTC)               24.59163148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00          $1,892.12      ($18.92)     $44,024 66           (0.3 BTC)               24.29163148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00         $43,477.86     ($434.78)     $87,067 73       (6.8935 BTC)                17.39813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00          $1,261.42      ($12.61)     $88,316 54           (0.2 BTC)               17.19813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00            $630.71       ($6.31)     $88,940 94           (0.1 BTC)               17.09813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00            $630.71       ($6.31)     $89,565 34           (0.1 BTC)               16.99813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00          $2,522.83      ($25.23)     $92,062 94           (0.4 BTC)               16.59813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00          $3,784.25      ($37.84)     $95,809 35           (0.6 BTC)               15.99813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00            $630.71       ($6.31)     $96,433 75           (0.1 BTC)               15.89813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00            $630.71       ($6.31)     $97,058 15           (0.1 BTC)               15.79813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00          $1,261.42      ($12.61)     $98,306 95           (0.2 BTC)               15.59813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00          $9,460.62      ($94.61)    $107,672 96           (1.5 BTC)               14.09813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00         $18,921.24     ($189.21)    $126,404 99           (3.0 BTC)               11.09813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00          $9,460.62      ($94.61)    $135,771 01           (1.5 BTC)                9.59813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00          $9,460.62      ($94.61)    $145,137 02           (1.5 BTC)                8.09813148 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00            $670.55       ($6.71)    $145,800 86 (0.10631624 BTC)                   7.99181524 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00         $18,921.24     ($189.21)    $164,532 89           (3.0 BTC)                4.99181524 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00          $9,460.62      ($94.61)    $173,898 90           (1.5 BTC)                3.49181524 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
D Lmt                               Make                                   100.00            $365.76       ($3.66)    $174,261 00 (0.05799163 BTC)                   3.43382361 BTC                                        0 0 ETH                                0.05780482 ZEC  4.084E 09 4.084E 09 2018-07-10 ###########
   Depos t (BTC)                                                                                                      $174,261 00            0.4 BTC       0.0 BTC 3.83382361 BTC                                          0 0 ETH                                0.05780482 ZEC                                                                                              d406                            aJT9                        0
   W thd awal (W e T ansfe )                                                             $173,961.00)       $0.00         $300 00                                    3.83382361 BTC                                        0 0 ETH                                0.05780482 ZEC
D Lmt                               Take                                   100.00            $633.07       ($6.33)        $926 73           (0.1 BTC)                3.73382361 BTC                                        0 0 ETH                                0.05780482 ZEC  4.085E 09 4.085E 09 2018-07-11 ###########
D Lmt                               Make                                   100.00            $633.01       ($6.33)      $1,553 42           (0.1 BTC)                3.63382361 BTC                                        0 0 ETH                                0.05780482 ZEC  4.085E 09 4.085E 09 2018-07-11 ###########
D Lmt                               Make                                   100.00            $633.01       ($6.33)      $2,180 10           (0.1 BTC)                3.53382361 BTC                                        0 0 ETH                                0.05780482 ZEC  4.085E 09 4.085E 09 2018-07-11 ###########
D Lmt                               Make                                   100.00            $633.01       ($6.33)      $2,806 78           (0.1 BTC)                3.43382361 BTC                                        0 0 ETH                                0.05780482 ZEC  4.085E 09 4.085E 09 2018-07-11 ###########
D Lmt                               Make                                   100.00          $2,117.95      ($21.18)      $4,903 55 (0.33458208 BTC)                   3.09924153 BTC                                        0 0 ETH                                0.05780482 ZEC  4.085E 09 4.085E 09 2018-07-11 ###########
D Lmt                               Take                                   100.00              $9.20       ($0.09)      $4,912 66                                    3.09924153 BTC                                        0 0 ETH      (0.0577 ZEC)              0.00010482 ZEC  4.085E 09 4.085E 09 2018-07-11 ###########
   W thd awal (W e T ansfe )                                                              ($2,000.00)       $0.00       $2,912 66                                    3.09924153 BTC                                        0 0 ETH                                0.00010482 ZEC
D Lmt                               Take                                    50.00         ($2,837.97)     ($14.19)         $60 50  0.46034194 BTC                    3.55958347 BTC                                        0 0 ETH                                0.00010482 ZEC  4.092E 09 4.092E 09 2018-07-12 ###########
   W thd awal (BTC)                                                                                                        $60 50           (3.5 BTC)      0.0 BTC 0.05958347 BTC                                          0 0 ETH                                0.00010482 ZEC                                                                                              c696
   Depos t (P e-C ed ted BTC)                                                                                              $60 50  7.40385998 BTC          0.0 BTC 7.46344345 BTC                                          0 0 ETH                                0.00010482 ZEC                                                                                               533c                            VRF1                       0
D Lmt                               Make                                    25.00          $2,937.12       ($7.34)      $2,990 27 (0.40206921 BTC)                   7.06137424 BTC                                        0 0 ETH                                0.00010482 ZEC  4.123E 09 4.123E 09 2018-07-17 ###########
D Lmt                               Make                                    25.00            $500.00       ($1.25)      $3,489 02 (0.06844626 BTC)                   6.99292798 BTC                                        0 0 ETH                                0.00010482 ZEC  4.123E 09 4.123E 09 2018-07-17 ###########
D Lmt                               Make                                    25.00            $495.00       ($1.24)      $3,982 79  (0.0677618 BTC)                   6.92516618 BTC                                        0 0 ETH                                0.00010482 ZEC  4.123E 09 4.123E 09 2018-07-17 ###########
D Lmt                               Make                                    25.00            $119.93       ($0.30)      $4,102 42 (0.01641768 BTC)                    6.9087485 BTC                                        0 0 ETH                                0.00010482 ZEC  4.123E 09 4.123E 09 2018-07-17 ###########
D Lmt                               Make                                    25.00         $10,692.14      ($26.73)     $14,767 83    (1.463674 BTC)                   5.4450745 BTC                                        0 0 ETH                                0.00010482 ZEC  4.123E 09 4.123E 09 2018-07-17 ###########
D Lmt                               Make                                    25.00          $3,917.86       ($9.79)     $18,675 89    (0.536326 BTC)                   4.9087485 BTC                                        0 0 ETH                                0.00010482 ZEC  4.123E 09 4.123E 09 2018-07-17 ###########
D Lmt                               Make                                    25.00          $2,334.95       ($5.84)     $21,005 00 (0.31963669 BTC)                   4.58911181 BTC                                        0 0 ETH                                0.00010482 ZEC  4.123E 09 4.123E 09 2018-07-17 ###########
D Lmt                               Make                                    25.00         $14,610.00      ($36.53)     $35,578 48           (2.0 BTC)                2.58911181 BTC                                        0 0 ETH                                0.00010482 ZEC  4.123E 09 4.123E 09 2018-07-17 ###########
D Lmt                               Make                                    25.00             $22.18       ($0.06)     $35,600 60    (0.003036 BTC)                  2.58607581 BTC                                        0 0 ETH                                0.00010482 ZEC  4.123E 09 4.123E 09 2018-07-17 ###########
D Lmt                               Make                                    25.00         $15,505.59      ($38.76)     $51,067 43       (2.1226 BTC)                 0.46347581 BTC                                        0 0 ETH                                0.00010482 ZEC  4.123E 09 4.123E 09 2018-07-17 ###########
D Lmt                               Make                                    25.00              $0.22       ($0.00)     $51,067 65     (0.00003 BTC)                  0.46344581 BTC                                        0 0 ETH                                0.00010482 ZEC  4.123E 09 4.123E 09 2018-07-17 ###########
D Lmt                               Make                                    25.00              $0.02       ($0.00)     $51,067 66 (0.00000236 BTC)                   0.46344345 BTC                                        0 0 ETH                                0.00010482 ZEC  4.123E 09 4.123E 09 2018-07-17 ###########
   W thd awal (W e T ansfe )                                                             ($51,000.00)       $0.00          $67 66                                    0.46344345 BTC                                        0 0 ETH                                0.00010482 ZEC
D Lmt                               Make                                    25.00          $3,442.44       ($8.61)      $3,501 50 (0.46344345 BTC)                           0.0 BTC                                       0 0 ETH                                0.00010482 ZEC  4.125E 09 4.125E 09 2018-07-18 ###########
D Lmt                               Make                                   100.00           ($877.96)      ($8.78)      $2,614 76                                            0.0 BTC                                       0 0 ETH           4.0 ZEC              4.00010482 ZEC  4.127E 09 4.127E 09 2018-07-18 ###########
D Lmt                               Make                                   100.00             ($0.00)      ($0.00)      $2,614 76                                            0.0 BTC                                       0 0 ETH    0.000005 ZEC                4.00010982 ZEC  4.127E 09 4.127E 09 2018-07-18 ###########
D Lmt                               Make                                   100.00         ($2,587.56)     ($25.88)          $1 33                                            0.0 BTC                                       0 0 ETH    11.78896 ZEC               15.78906982 ZEC  4.127E 09 4.127E 09 2018-07-18 ###########
D Lmt                               Take                                   100.00             $15.81       ($0.16)         $16 97                                            0.0 BTC                                       0 0 ETH   (0.074482 ZEC)              15.71458782 ZEC  4.135E 09 4.135E 09 2018-07-19 ###########
D Lmt                               Make                                   100.00          $2,120.00      ($21.20)      $2,115 77                                            0.0 BTC                                       0 0 ETH         (10.0 ZEC)             5.71458782 ZEC  4.135E 09 4.135E 09 2018-07-19 ###########
D Lmt                               Take                                   100.00            $141.50       ($1.41)      $2,255 85                                            0.0 BTC                                       0 0 ETH   (0.667463 ZEC)               5.04712482 ZEC  4.135E 09 4.135E 09 2018-07-19 ###########
D Lmt                               Take                                   100.00             $10.00       ($0.10)      $2,265 75                                            0.0 BTC                                       0 0 ETH   (0.047125 ZEC)               4.99999982 ZEC  4.135E 09 4.135E 09 2018-07-19 ###########
D Lmt                               Take                                   100.00            $798.32       ($7.98)      $3,056 09                                            0.0 BTC                                       0 0 ETH    (3.76673 ZEC)               1.23326982 ZEC  4.135E 09 4.135E 09 2018-07-19 ###########
D Lmt                               Take                                   100.00             $49.50       ($0.49)      $3,105 10                                            0.0 BTC                                       0 0 ETH    (0.23327 ZEC)               0.99999982 ZEC  4.135E 09 4.135E 09 2018-07-19 ###########
D Lmt                               Take                                   100.00              $2.00       ($0.02)      $3,107 08                                            0.0 BTC                                       0 0 ETH   (0.009438 ZEC)               0.99056182 ZEC  4.135E 09 4.135E 09 2018-07-19 ###########
D Lmt                               Take                                   100.00            $209.25       ($2.09)      $3,314 23                                            0.0 BTC                                       0 0 ETH         (0.99 ZEC)             0.00056182 ZEC  4.135E 09 4.135E 09 2018-07-19 ###########
   W thd awal (W e T ansfe )                                                              ($3,214.14)       $0.00         $100 09                                            0.0 BTC                                       0 0 ETH                                0.00056182 ZEC
   Depos t (Instant ACH T ansfe )                                                            $500.00        $0.00         $600 09                                            0.0 BTC                                       0 0 ETH                                0.00056182 ZEC
   Depos t (P e-C ed ted BTC)                                                                                             $600 09  0.33351851 BTC          0.0 BTC 0.33351851 BTC                                          0 0 ETH                                0.00056182 ZEC                                                                                              1ada                             VRF1                       0
   W thd awal (BTC)                                                                                                       $600 09 (0.33351851 BTC)         0.0 BTC           0.0 BTC                                       0 0 ETH                                0.00056182 ZEC                                                                                               52a4                                                                                     F
   Depos t (BTC)                                                                                                          $600 09 14.50490276 BTC          0.0 BTC 14.50490276 BTC                                         0 0 ETH                                0.00056182 ZEC                                                                                                841d                           VRF1                       0
D Lmt                               Take                                    50.00            $108.91       ($0.54)        $708 46 (0.01467582 BTC)                  14.49022694 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Take                                    50.00          $2,899.00      ($14.49)      $3,592 96 (0.39063763 BTC)                  14.09958931 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Take                                    50.00          $7,421.40      ($37.11)     $10,977 25           (1.0 BTC)               13.09958931 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Take                                    50.00         $17,828.15      ($89.14)     $28,716 26       (2.4021 BTC)                10.69748931 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Take                                    50.00          $7,422.84      ($37.11)     $36,101 98           (1.0 BTC)                9.69748931 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $218.60       ($0.55)     $36,320 04 (0.02946141 BTC)                    9.6680279 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00          $1,889.13       ($4.72)     $38,204 45       (0.2546 BTC)                  9.4134279 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00         $14,785.66      ($36.96)     $52,953 15    (1.992677 BTC)                   7.4207509 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $460.34       ($1.15)     $53,412 34     (0.06204 BTC)                   7.3587109 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00             $99.40       ($0.25)     $53,511 49    (0.013396 BTC)                   7.3453149 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00             $61.64       ($0.15)     $53,572 97    (0.008307 BTC)                   7.3370079 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00             $25.23       ($0.06)     $53,598 13       (0.0034 BTC)                  7.3336079 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00             $24.90       ($0.06)     $53,622 97  (0.0033557 BTC)                    7.3302522 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00             $18.40       ($0.05)     $53,641 33     (0.00248 BTC)                   7.3277722 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00              $8.96       ($0.02)     $53,650 26    (0.001207 BTC)                   7.3265652 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00             $47.73       ($0.12)     $53,697 87    (0.006432 BTC)                   7.3201332 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $773.75       ($1.93)     $54,469 68    (0.104279 BTC)                   7.2158542 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00          $1,720.61       ($4.30)     $56,185 99    (0.231888 BTC)                   6.9839662 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $742.00       ($1.86)     $56,926 14           (0.1 BTC)                 6.8839662 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $498.01       ($1.25)     $57,422 90    (0.067117 BTC)                   6.8168492 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00             $51.70       ($0.13)     $57,474 47    (0.006968 BTC)                   6.8098812 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00          $3,823.56       ($9.56)     $61,288 47    (0.515304 BTC)                   6.2945772 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00             $47.73       ($0.12)     $61,336 07    (0.006432 BTC)                   6.2881452 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00          $1,951.46       ($4.88)     $63,282 66        (0.263 BTC)                  6.0251452 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $249.00       ($0.62)     $63,531 03    (0.033558 BTC)                   5.9915872 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $238.98       ($0.60)     $63,769 41    (0.032207 BTC)                   5.9593802 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $113.59       ($0.28)     $63,882 71    (0.015308 BTC)                   5.9440722 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00          $1,047.33       ($2.62)     $64,927 43     (0.14115 BTC)                   5.8029222 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $244.86       ($0.61)     $65,171 68        (0.033 BTC)                  5.7699222 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00             $29.38       ($0.07)     $65,200 99     (0.00396 BTC)                   5.7659622 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $244.86       ($0.61)     $65,445 23        (0.033 BTC)                  5.7329622 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $191.18       ($0.48)     $65,635 94    (0.025766 BTC)                   5.7071962 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $114.71       ($0.29)     $65,750 36    (0.015459 BTC)                   5.6917372 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00             $47.73       ($0.12)     $65,797 96    (0.006432 BTC)                   5.6853052 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00          $7,420.00      ($18.55)     $73,199 41           (1.0 BTC)                 4.6853052 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D Lmt                               Make                                    25.00            $477.95       ($1.19)     $73,676 17    (0.064414 BTC)                   4.6208912 BTC                                        0 0 ETH                                0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########




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                                                                                                                               Case 2:19-cv-01697-JAD-DJA Document 91-2 Filed 12/15/20 Page 5 of 6

l   Specification                    Liquidity Ind cator   Trading Fee Rate (bps)   USD Amount USD Fee (USD) USD USD Balance USD BTC Amount BTC Fee (BTC) BTC     BTC Balance BTC ETH Amount ETH   Fee ETH) ETH   ETH Balance ETH ZEC Amount ZEC   Fee (ZEC) ZEC   ZEC Balance ZEC Trade ID  Order ID   Order Date Order Time Cl ent Order ID   API Session   Tx Hash                       Deposit Destination           Deposit Tx Output       Withdrawal Destination
D   Lmt                              Make                                     25.00          $146.13       ($0.37)     $73,821 94    (0.019694 BTC)                 4.6011972 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $24.86       ($0.06)     $73,846 74    (0.003351 BTC)                 4.5978462 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $244.86       ($0.61)     $74,090 99        (0.033 BTC)                4.5648462 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $24.85       ($0.06)     $74,115 77    (0.003349 BTC)                 4.5614972 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $245.84       ($0.61)     $74,361 00    (0.033132 BTC)                 4.5283652 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $195.84       ($0.49)     $74,556 35    (0.026393 BTC)                 4.5019722 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $133.83       ($0.33)     $74,689 84    (0.018036 BTC)                 4.4839362 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00        $7,443.72      ($18.61)     $82,114 95    (1.003197 BTC)                 3.4807392 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00            $2.72       ($0.01)     $82,117 66 (0.00036662 BTC)                 3.48037258 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00        $1,567.10       ($3.92)     $83,680 84    (0.211199 BTC)                3.26917358 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $497.07       ($1.24)     $84,176 67     (0.06699 BTC)                3.20218358 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $55.31       ($0.14)     $84,231 84    (0.007454 BTC)                3.19472958 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $78.65       ($0.20)     $84,310 29       (0.0106 BTC)               3.18412958 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $358.46       ($0.90)     $84,667 86     (0.04831 BTC)                3.13581958 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $66.61       ($0.17)     $84,734 30    (0.008977 BTC)                3.12684258 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $54.91       ($0.14)     $84,789 07       (0.0074 BTC)               3.11944258 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $545.70       ($1.36)     $85,333 41    (0.073545 BTC)                3.04589758 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $10.45       ($0.03)     $85,343 83    (0.001408 BTC)                3.04448958 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00            $8.96       ($0.02)     $85,352 76    (0.001207 BTC)                3.04328258 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $23.37       ($0.06)     $85,376 07    (0.003149 BTC)                3.04013358 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $28.84       ($0.07)     $85,404 84    (0.003887 BTC)                3.03624658 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00            $8.96       ($0.02)     $85,413 77    (0.001207 BTC)                3.03503958 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $47.72       ($0.12)     $85,461 37    (0.006431 BTC)                3.02860858 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $116.32       ($0.29)     $85,577 40    (0.015676 BTC)                3.01293258 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $47.72       ($0.12)     $85,625 00    (0.006431 BTC)                3.00650158 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $95.59       ($0.24)     $85,720 35    (0.012883 BTC)                2.99361858 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $191.18       ($0.48)     $85,911 05    (0.025765 BTC)                2.96785358 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00        $2,894.90       ($7.24)     $88,798 71    (0.390148 BTC)                2.57770558 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $99.01       ($0.25)     $88,897 47 (0.01334365 BTC)                 2.56436193 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $71.83       ($0.18)     $88,969 12     (0.00968 BTC)                2.55468193 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $416.25       ($1.04)     $89,384 32    (0.056098 BTC)                2.49858393 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $116.31       ($0.29)     $89,500 34    (0.015675 BTC)                2.48290893 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $95.58       ($0.24)     $89,595 69    (0.012882 BTC)                2.47002693 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $95.58       ($0.24)     $89,691 03    (0.012882 BTC)                2.45714493 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $106.10       ($0.27)     $89,796 87    (0.014299 BTC)                2.44284593 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $39.67       ($0.10)     $89,836 44  (0.0053463 BTC)                 2.43749963 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $477.94       ($1.19)     $90,313 18    (0.064412 BTC)                2.37308763 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $14.91       ($0.04)     $90,328 05    (0.002009 BTC)                2.37107863 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $979.41       ($2.45)     $91,305 01    (0.131996 BTC)                2.23908263 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $111.30       ($0.28)     $91,416 03        (0.015 BTC)               2.22408263 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $247.57       ($0.62)     $91,662 98    (0.033365 BTC)                2.19071763 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $44.74       ($0.11)     $91,707 60    (0.006029 BTC)                2.18468863 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $18.40       ($0.05)     $91,725 96     (0.00248 BTC)                2.18220863 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $63.63       ($0.16)     $91,789 43    (0.008575 BTC)                2.17363363 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $716.89       ($1.79)     $92,504 53    (0.096616 BTC)                2.07701763 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $47.73       ($0.12)     $92,552 13    (0.006432 BTC)                2.07058563 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $358.45       ($0.90)     $92,909 68    (0.048308 BTC)                2.02227763 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $994.01       ($2.49)     $93,901 20    (0.133963 BTC)                1.88831463 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $91.76       ($0.23)     $93,992 73    (0.012367 BTC)                1.87594763 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $75.57       ($0.19)     $94,068 11    (0.010184 BTC)                1.86576363 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00        $5,194.00      ($12.99)     $99,249 13           (0.7 BTC)              1.16576363 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00           $71.57       ($0.18)     $99,320 52    (0.009646 BTC)                1.15611763 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00          $139.07       ($0.35)     $99,459 25 (0.01874302 BTC)                 1.13737461 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00        $1,065.79       ($2.66)    $100,522 38    (0.143638 BTC)                0.99373661 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
D   Lmt                              Make                                     25.00        $1,772.15       ($4.43)    $102,290 09 (0.23883385 BTC)                 0.75490276 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.147E 09 4.147E 09 2018-07-21 ###########
    W thd awal (ACH T ansfe )                                                            $100,000.00)       $0.00       $2,290 09                                  0.75490276 BTC                                          0 0 ETH                                  0.00056182 ZEC
D   Lmt                              Take                                     50.00        $1,929.25       ($9.65)      $4,209 70          (0.25 BTC)              0.50490276 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.156E 09 4.156E 09 2018-07-23 ###########
    W thd awal (W e T ansfe )                                                             ($3,709.69)       $0.00         $500 01                                  0.50490276 BTC                                          0 0 ETH                                  0.00056182 ZEC
    Depos t (BTC)                                                                                                         $500 01   0.0686924 BTC         0.0 BTC 0.57359516 BTC                                           0 0 ETH                                  0.00056182 ZEC                                                                                                559d                             VRF1                       0
    Depos t (Instant ACH T ansfe )                                                           $500.00        $0.00       $1,000 01                                  0.57359516 BTC                                          0 0 ETH                                  0.00056182 ZEC
D   Lmt                              Take                                     50.00         ($497.50)      ($2.49)        $500 02  0.06085619 BTC                  0.63445135 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.175E 09 4.175E 09 2018-07-26 ###########
    Depos t (Instant ACH T ansfe )                                                           $500.00        $0.00       $1,000 02                                  0.63445135 BTC                                          0 0 ETH                                  0.00056182 ZEC
D   Lmt                              Make                                     25.00         ($497.50)      ($1.24)        $501 28  0.06274435 BTC                   0.6971957 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.183E 09 4.183E 09 2018-07-27 ###########
    Depos t (Instant ACH T ansfe )                                                           $500.00        $0.00       $1,001 28                                   0.6971957 BTC                                          0 0 ETH                                  0.00056182 ZEC
D   Lmt                              Take                                     50.00         ($497.37)      ($2.49)        $501 42  0.06037628 BTC                  0.75757198 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.188E 09 4.188E 09 2018-07-27 ###########
D   Lmt                              Take                                     50.00            $0.67       ($0.00)        $502 08 (0.00008116 BTC)                 0.75749082 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.194E 09 4.194E 09 2018-07-29 ###########
D   Lmt                              Take                                     50.00        $5,008.41      ($25.04)      $5,485 45 (0.61145351 BTC)                 0.14603731 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.194E 09 4.194E 09 2018-07-29 ###########
    W thd awal (W e T ansfe )                                                             ($3,985.00)       $0.00       $1,500 45                                  0.14603731 BTC                                          0 0 ETH                                  0.00056182 ZEC
D   Lmt                              Take                                     50.00         ($311.07)      ($1.56)      $1,187 82  0.04097836 BTC                  0.18701567 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($15.50)      ($0.08)      $1,172 25  0.00204162 BTC                  0.18905729 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($13.50)      ($0.07)      $1,158 68   0.0017784 BTC                  0.19083569 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($14.50)      ($0.07)      $1,144 11  0.00190983 BTC                  0.19274552 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00           ($7.50)      ($0.04)      $1,136 57  0.00098797 BTC                  0.19373349 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($19.50)      ($0.10)      $1,116 98  0.00256882 BTC                  0.19630231 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00           ($5.50)      ($0.03)      $1,111 45   0.0007242 BTC                  0.19702651 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($37.50)      ($0.19)      $1,073 77  0.00493977 BTC                  0.20196628 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($12.50)      ($0.06)      $1,061 21  0.00164644 BTC                  0.20361272 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($17.50)      ($0.09)      $1,043 62  0.00230513 BTC                  0.20591785 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($16.50)      ($0.08)      $1,027 04  0.00217356 BTC                  0.20809141 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($36.50)      ($0.18)        $990 36  0.00480838 BTC                  0.21289979 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00           ($4.50)      ($0.02)        $985 84  0.00059249 BTC                  0.21349228 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($17.50)      ($0.09)        $968 25  0.00230509 BTC                  0.21579737 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($18.50)      ($0.09)        $949 66  0.00243691 BTC                  0.21823428 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($13.50)      ($0.07)        $936 09   0.0017784 BTC                  0.22001268 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($15.50)      ($0.08)        $920 52  0.00204172 BTC                   0.2220544 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($12.50)      ($0.06)        $907 96  0.00164652 BTC                  0.22370092 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00          ($27.50)      ($0.14)        $880 32  0.00362268 BTC                   0.2273236 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00           ($6.50)      ($0.03)        $873 79  0.00085607 BTC                  0.22817967 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Take                                     50.00           ($5.50)      ($0.03)        $868 26  0.00072428 BTC                  0.22890395 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
D   Lmt                              Make                                     25.00         ($370.96)      ($0.93)        $496 38   0.0488683 BTC                  0.27777225 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.214E 09 4.214E 09 2018-08-01 ###########
    W thd awal (BTC)                                                                                                      $496 38 (0.19788493 BTC)        0.0 BTC 0.07988732 BTC                                           0 0 ETH                                  0.00056182 ZEC                                                                                               1f9b
    Depos t (P e-C ed ted BTC)                                                                                            $496 38  1.05784317 BTC         0.0 BTC 1.13773049 BTC                                           0 0 ETH                                  0.00056182 ZEC                                                                                                1147                             VRF1                       0
    W thd awal (BTC)                                                                                                      $496 38          (0.25 BTC)     0.0 BTC 0.88773049 BTC                                           0 0 ETH                                  0.00056182 ZEC                                                                                                 f3c2
    W thd awal (BTC)                                                                                                      $496 38 (0.88773049 BTC)        0.0 BTC          0.0 BTC                                         0 0 ETH                                  0.00056182 ZEC                                                                                                  64c4
    W thd awal (W e T ansfe )                                                               ($496.37)       $0.00           $0 01                                          0.0 BTC                                         0 0 ETH                                  0.00056182 ZEC
    Depos t (P e-C ed ted BTC)                                                                                              $0 01  0.59997288 BTC         0.0 BTC 0.59997288 BTC                                           0 0 ETH                                  0.00056182 ZEC                                                                                                c9dd                             VRF1                       0
D   Lmt                              Take                                     50.00        $2,347.01      ($11.74)      $2,335 28 (0.33103108 BTC)                  0.2689418 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.243E 09 4.243E 09 2018-08-07 ###########
D   Lmt                              Take                                     50.00          $709.01       ($3.55)      $3,040 75           (0.1 BTC)               0.1689418 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.243E 09 4.243E 09 2018-08-07 ###########
D   Lmt                              Take                                     50.00        $1,000.00       ($5.00)      $4,035 75  (0.1410296 BTC)                  0.0279122 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.243E 09 4.243E 09 2018-08-07 ###########
D   Lmt                              Take                                     50.00          $198.00       ($0.99)      $4,232 76  (0.0279122 BTC)                         0.0 BTC                                         0 0 ETH                                  0.00056182 ZEC  4.243E 09 4.243E 09 2018-08-07 ###########
    W thd awal (W e T ansfe )                                                             ($4,232.75)       $0.00           $0 01                                          0.0 BTC                                         0 0 ETH                                  0.00056182 ZEC
    Depos t (BTC)                                                                                                           $0 01      2.11335 BTC        0.0 BTC      2.11335 BTC                                         0 0 ETH                                  0.00056182 ZEC                                                                                                 adc7                           Ds S                        1
    W thd awal (BTC)                                                                                                        $0 01    (0.065934 BTC)       0.0 BTC     2.047416 BTC                                         0 0 ETH                                  0.00056182 ZEC                                                                                               679b
D   Lmt                              Take                                     50.00       $12,838.40      ($64.19)     $12,774 21           (2.0 BTC)                0.047416 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.255E 09 4.255E 09 2018-08-09 ###########
    W thd awal (W e T ansfe )                                                            ($12,774.21)       $0.00           $0 00                                    0.047416 BTC                                          0 0 ETH                                  0.00056182 ZEC
    Depos t (P e-C ed ted BTC)                                                                                              $0 00  4.19997966 BTC         0.0 BTC 4.24739566 BTC                                           0 0 ETH                                  0.00056182 ZEC                                                                                                  de99                           VRF1                       0
D   Lmt                              Take                                     50.00       $14,274.31      ($71.37)     $14,202 94          (2.24 BTC)              2.00739566 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.316E 09 4.316E 09 2018-08-19 ###########
D   Lmt                              Take                                     50.00        $6,373.68      ($31.87)     $20,544 75           (1.0 BTC)              1.00739566 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.316E 09 4.316E 09 2018-08-19 ###########
D   Lmt                              Take                                     50.00        $6,373.68      ($31.87)     $26,886 57           (1.0 BTC)              0.00739566 BTC                                          0 0 ETH                                  0.00056182 ZEC  4.316E 09 4.316E 09 2018-08-19 ###########
    W thd awal (W e T ansfe )                                                            ($26,886.56)       $0.00           $0 01                                  0.00739566 BTC                                          0 0 ETH                                  0.00056182 ZEC
    W thd awal (BTC)                                                                                                        $0 01 (0.00739566 BTC)        0.0 BTC          0.0 BTC                                         0 0 ETH                                  0.00056182 ZEC                                                                                               bb56                                                                                      6
    Depos t (P e-C ed ted BTC)                                                                                              $0 01  0.01663478 BTC         0.0 BTC 0.01663478 BTC                                           0 0 ETH                                  0.00056182 ZEC                                                                                                  c605                           VRF1                       0
    W thd awal (BTC)                                                                                                        $0 01       (0.0016 BTC)      0.0 BTC 0.01503478 BTC                                           0 0 ETH                                  0.00056182 ZEC                                                                                              d939
    W thd awal (BTC)                                                                                                        $0 01 (0.01503478 BTC)        0.0 BTC          0.0 BTC                                         0 0 ETH                                  0.00056182 ZEC                                                                                                 ef11
    Depos t (P e-C ed ted BTC)                                                                                              $0 01  0.62418962 BTC         0.0 BTC 0.62418962 BTC                                           0 0 ETH                                  0.00056182 ZEC                                                                                                 20fa                            VRF1                       0
    W thd awal (BTC)                                                                                                        $0 01           (0.6 BTC)     0.0 BTC 0.02418962 BTC                                           0 0 ETH                                  0.00056182 ZEC                                                                                                82c8                                                                                      6
    W thd awal (BTC)                                                                                                        $0 01 (0.02418962 BTC)        0.0 BTC          0.0 BTC                                         0 0 ETH                                  0.00056182 ZEC                                                                                                   0b6a                                                                                  6G
    Depos t (P e-C ed ted BTC)                                                                                              $0 01  2.99996836 BTC         0.0 BTC 2.99996836 BTC                                           0 0 ETH                                  0.00056182 ZEC                                                                                               185f                              VRF1                       0




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